     Case 2:90-cv-90718-WDK-AFM Document 5 Filed 09/14/18 Page 1 of 3 Page ID #:17



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                               UNITED STATES DISTRICT COURT
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                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       UNITED STATES OF AMERICA,                   Case No. 2:90-cv-90718-WDK-AFM
12
                          Plaintiff,
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                   ►~~                            CLERK'S 28 U.S.C. ~ 3202(b)
14                                                lam'
                                                                            HMENT
15     DEREK D. MOORE, D.D.S.
16                        Defendant.              CCOUNTY OF ORANGE AUDITOR
                                                    ONTROLLER.]
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22    TO DEREK D. MOORE D.D.S.:
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                   You are hereby notified that the funds held by garnishee COUNTY OF
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      ORANGE AUDITOR CONTROLLER, ATTIC: CENTRAL PAYROLL are being taken
25
      by the United States of America (the Government), which has a Court judgment in the
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      above-captioned case in the amount of $8,923.91 plus daily interest for a case arising out
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      of a debt for unpaid Student Loan (s) guaranteed by the Department of Health &Human
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      Services (HEAL).
     Case 2:90-cv-90718-WDK-AFM Document 5 Filed 09/14/18 Page 2 of 3 Page ID #:18



 1    As of July 17, 2018 the amount due is $36,525.82 plus daily interest in the amount of
 2    $6.16.
 3          The Federal Debt Collection Procedures Act requires Garnishee to file an answer
 4    to the writ of garnishment. 28 U.S.C. § 3205(c)(4). In the answer, Garnishee is required
 5    to state whether Garnishee has custody, control, or possession of property belonging to
 6    Defendant, a description of the property and a statement of its value, a description of any
      previous garnishments ofthe property, and the amount that Garnishee anticipates owing
 s    Defendant in the future.
 9          The Act further provides that within 20 days following the receipt of the answer,
to    either you or the United States may file a written objection to the answer and a request a
11    hearing. The objection shall identify the party filing it and shall state the grounds for the
is    objection to the answer. 28 U.S.C. § 3205(c)(5). The Court shall conduct a hearing on
13    the objection to the answer of Garnishee within 10 days after service ofthe request, or as
14    soon thereafter as practicable. Id. Any objection to the answer filed by Garnishee must
15    be set forth in a pleading and filed by the party objecting with the Clerk of the United
16    States District Court.
l~          If no objection to the answer of Garnishee is filed, and no request for a hearing is
is    received by the Court, the Court shall promptly enter an order directing Garnishee as to
19    the disposition of your nonexempt interest in the garnished property. If a hearing is
20    timely requested, the order for disposition of the property shall be entered by the Court
al    within 5 days after the hearing, or as soon as practicable. 28 U.S.C. § 3205(c)(7).
22          In addition, YOU ARE HEREBY NOTIFIED that there are exemptions under the
23    law which may protect some of the property from being taken by the Government if you
24    can show that the exemptions apply. Attached is a summary of the exemptions which
25    may apply when the debt arises out of a judgment entered in a civil case.
26          You have a right to ask the Court to return your property to you if you think the
a~    property the Government is taking qualifies under one of the exemptions. You must
as    either mail your request for hearing, or deliver it in person, to the Clerk of the United
      States District Court, 255 E Temple St Room 180, Los Angeles, California 90012. You

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     Case 2:90-cv-90718-WDK-AFM Document 5 Filed 09/14/18 Page 3 of 3 Page ID #:19



 1    must also send a copy of your request to Goldsmith & Hull, A P.C., 16933 Parthenia
 a    Street, Suite 110 Northridge, CA 91343, so the Government will know you want a
 3    hearing. If you wish, you may use the attached form to request the hearing.
 4          The hearing will take place within 5 days after the Clerk receives your request, if
 5    you ask for it to take place that quickly, or as soon after that as possible. At the hearing,
 6    you may explain to the judge why you believe the property the Government has taken is
      exempt.
 s          If you think you live outside the federal judicial district in which the Court is
 9    located, you may request, no later than 20 days after you receive this notice, that this
to    proceeding to take your property be transferred by the Court to the federal judicial
11    district in which you reside. You must make your request in writing, and either mail it or
12    deliver it in person to the Clerk of the Court, 255 E. Temple St Room 180, Los Angeles,
13    California 90012. You must also send a copy of your request to Goldsmith &Hull, A
14    P.C., 16933 Parthenia Street, Suite 110, Northridge, CA 91343, so the Government will
15    know you want the proceeding to be transferred.
16          Be sure to keep a copy of this notice for your own records. If you have any
1~    questions about your rights or about this procedure, you should contact a lawyer, an
is    officer of public legal assistance, or the Clerk of the Court. The Clerk is not permitted to
19    give legal advice, but can refer you to other sources of information.
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as    DATED: September 14, 2018
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                                       DEPUTY CLERK,
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                                       UNITED STATES DISTRICT COURT
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